                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                     ASHEVILLE DIVISION

UNITED STATES OF AMERICA
                                                         DOCKET NO.1:19CR78
             V.


                                                         FACTUAL BASIS
KYLE EVttRETT HUSttY



       NOW COMES the United States of America, by and through R. Andrew Murray, United
States Attomey for the Westem District of North Carolina, and hereby hles this Factual Basis in
support of the plea.

         This Factual Basis does not attempt to set forth all of the facts known to the United States
at this time. This Factual Basis is not a statement of the defendant, and, at this time, the defendant
may not have provided information to the United States about the offenses to which the defendant
is pleading guilty, or the defendant's relevant conduct, if any.

        By their signatures below, the parties expressly agree that there is a factual basis for the
guilty plea(s) that the defendant will tender. The parties also agree that this Factual Basis may,
but need not, be used by the United States Probation Office and the Court in determining the
applicable advisory guideline range under the United States Sentencing Guidelines or the
appropriate sentence under l8 U.S.C. $ 3553(a). The defendant agrees not to object to any fact set
forth below being used by the Court or the United States Probation Office to determine the
applicable advisory guideline range or the appropriate sentence under 18 U.S.C. $ 3553(a) unless
the defendant's right to object to such particular fact is explicitly reserved below. The parties'
agreement does not preclude either party from hereafter presenting the Court with additional facts
which do not contradict facts to which the parties have agreed not to object and which are relevant
to the Court's guideline computations, to l8 U.S.C. $ 3553 factors, or to the Court's overall
sentencing decision.


        1.   On December 15, 2018, KYLE HUSKEY was residing at 1081I Lower Alarka Road,
             Bryson City, Swain County, North Carolina. On that day, HUSKEY possessed an
             American Tactical Model OLR-15 .223 caliber rifle, a Phoenix Arms HP22A .22
             caliber handgun, 90 rounds of .22 caliber ammunition, and 16 rounds of .223 caliber
             ammunition.

        2.   The OLR-15 rifle was manufactured in the state of New York.

        3.   The Phoenix Arms HP22A handgun was manufacfured in the state of California.

        4.   The ammunition was manufactured outside of North Carolina.




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     5.   On December 29,2018, HUSKEY was driving a Chewolet Tahoe on a public road near
          Bryson City, North Carolina, in Swain County. While stopped at a vehicle checkpoint,
          HUSKEY was found to be in possession of a Remington Model 870 shotgun.

     6.   The Remington Model 870 shotgun was manufactured in the state of New York.

     7.   On February 23, 2019, HUSKEY was riding as a passenger in a vehicle on a public
          road near Bryson City, North Carolina, in Swain County. During a traffic stop,
          HUSKEY was found to be in possession of a Smith and Wesson M&P .40 caliber
          handgun and 56 rounds of .40 caliber ammunition.

     8.   The Smith and Wesson M&P .40 caliber handgun was manufactured in Connecticut.

     9.   The .40 caliber ammunition was manufactured outside of North Carolina.

     10. On June 16, 2015, HUSKEY was convicted of a crime punishable by more than one
          year imprisonment. HUSKEY has not received a pardon or clemency.

     ll.On the occasions      described above in which HUSKEY possessed firearms and
          ammunition, HUSKEY was aware that he had been convicted of a crime punishable by
          more than a year imprisonment and he was aware that he was not authorized to possess
          firearms or ammunition.




R.ANDREW MURRAY




ASSISTANT UNITED STATES ATTORNEY




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                     Defendant' s Counsel' s S isnature and Acknowled gment

I have read this Factual Basis and the Bill of Indictment in this case, and have discussed them
with the defendant. Based on those discussions, I am satisfied that the defendant understands the
Factual Basis and the Bill of Indictment. I hereby certify that the defendant does not dispute this
Factual Basis with the exception of those facts to which I have specifically reserved the right to
object, and understands that it may be used for the purposes stated above.


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